Case 1:24-cv-00779-JPH-MG Document 83-6 Filed 09/23/24 Page 1 of 3 PageID #:
                               <pageID>
Case 1:24-cv-00779-JPH-MG Document 83-6 Filed 09/23/24 Page 2 of 3 PageID #:
                               <pageID>



                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION



MAX MINDS, LLC,                                            )
                      Plaintiff,

                 v.                                        )     Case No.: 1:24-cv-00779-JPH-MG

TRIANGLE EXPERIENCE GROUP, INC., et al.,                   )

                      Defendants.                          )


                          DECLARATION        OF KANDIS M. KOUSTENIS

I, Kandis M. Koustenis, declare as follows:

    1.   I am over the age of eighteen (18) and am competent to testify to the matters set forth in

this declaration. This declaration is made based on my personal knowledge.

    2.   I ama   Shareholder in the law firm of Bean, Kinney & Korman, P.C. and have been in the

private practice of law for over 25 years.

    3.   Iam counsel for Defendant Triangle Experience Group, Inc. (“TEG”) in this matter before

the Court.

    4.   In its “Motion for Modification or Clarification” filed with the Court on September 13,

2024 (Dkt 76) (“Max’s Motion” or the “Motion’”), Max Minds, LLC (“Max”) makes allegations

relating to a past, unrelated case involving TEG.

    5.   Max’s Motion also claims that “in the meet and confer conversation prior to the filing of

this motion,” counsel for TEG, Richard Kelley, “who was also TEG’s counsel in the Hadron case”

“confirmed” that TEG “still has Hadron’s source code.” (/d. at 7.) This statement is false. Mr.
Case 1:24-cv-00779-JPH-MG Document 83-6 Filed 09/23/24 Page 3 of 3 PageID #:
                               <pageID>



Kelley never made such a statement, but instead told Max’s counsel that he could not, and would

not, answer questions about Hadron source code or software.

    6.   During a later meet and confer conference with counsel for Max on September 17, 2024,

TEG’s counsel asked Max to please identify the “counsel for Hadron” who allegedly stated that

“TEG still has Hadron’s source code,” (Dkt 76 at 7), but counsel for Max refused to answer the

question. Mr. Kelley further asked Mr. Rothman to retract and correct Max’s false statement that

TEG was in possession of Hadron’s source code. Mr. Rothman refused.

    7.   In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.




Executed on September 20, 2024
                                              Kandis M. Koustenis
